—— Case: 1:24-cv-00642-BMB Doc #: 18-13 Filed: 07/11/24 1o0f1. PagelD #: 217

Marsala Law Group

Attorneys at Law

1417 E. McKinney St., Ste 110 Dominick Marsala, Partner
Denton, TX 76209. Jenna Magaiia, Partner
(940) 382-1976 Jason Van Dyke, Partner
(469) 453-3031 fax jason@marsalalawgroup.com

April 18, 2023

US. District Clerk’s Office via CMRRR No. 7022 1670 0001 6590 0567
Attn: Judge Biery’s Chambers
262 West Nueva Street O) Y/ i
San Antonio, Texas 78207
fn fie
Dear Sir or Madame Clerk: frrr® LZ
ear Sir or Madame Clerk: . nyo Gz a aed

..,... Tam writing concerning my status with the U.S. District Court for the Western District
Texas. My state bar number is 24057426. —

vas +. 2:D had some disciplinary issues between approximately December of 2018 and May

- 2020. All of these were. duly reported to the Court by mail, as required by the local rules, to the

clerk’s office in Waco. It was my understanding under Local Rule AT-7 that, if the Western

.. District of Texas was to impose discipline, that ] would receive a referral to a district disciplinary
committee ‘and beable to avail myself of the procedure set forth in Local Rule AT-7(f). I never
received notice of any such referral.

- Today, the Georgia Supreme Court addressed the very last of those pending issues from
- that period of time with the attached order. I am fully reinstated in Texas, Colorado, Georgia, and
_ the District of Columbia. I have served all reciprocal discipline that was ordered by the U.S.
- District Courts for the.Eastern and Norther districts of Texas and have been discharged from the
probated portion of those suspensions. Naturally, I was surprised to contact the attorney
_ admissions office today and learn that I had been suspended by order of Judge Biery in the
Western District of Texas and that I had not yet been reinstated.

_...... lam writing today to notify the Court of this final order and to determine what I need to
do in order to become fully reinstated in the Western District of Texas since J never had notice of
.. any proceedings against me by a district disciplinary or otherwise in the Western District.

Very truly yours,

ae —

Jason Lee Van Dyke
Attorney & Counselor at Law
